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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    CASE NO. 3:19cr16/MCR

GHAZWAN FAMIL BROWN
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, GHAZWAN FAMIL BROWN, to Counts One, Three, Four, Five and

Six of the Indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE and ORDERED this 30th day of August 2019.



                                         s/   M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE
